IT IS SO ORDERED


                                     ENTERED UNDER AMENDED ADMINISTRATIVE
                                     ORDER NO. 11−02 TERESA D. UNDERWOOD, CLERK OF
                                     BANKRUPTCY COURT
                                      BY: /s/ A. A. Threatt
                                             Deputy Clerk

                                           Dated: May 4, 2018


                                UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO

 In re:                                                    Case Number: 18−11323−jps
 Catherine J. Hrinda
 45349 East Hamilton Street                                Chapter: 7
 Oberlin, OH 44074
                                                           Judge: JESSICA E. PRICE SMITH



                                     ORDER TO APPEAR AND SHOW CAUSE



   It appears to the Court that the Debtor(s) failed to:

  file the current Voluntary Petition (Official Form B101)(12/17).

  file Individual Debtor's Statement of Compliance with Credit Counseling Requirement
  (Official Form B101) as required by Bankruptcy Rule 1007(b)(3) and (c).

  file Certificate of Credit Counseling as required by 11 U.S.C. § 521(b)(1).

  file a matrix/list of creditors.

  file a plan within the time required by Bankruptcy Rule 3015.

  file schedules and statements timely under 11 U.S.C. § 521 and Bankruptcy Rule 1007(c).

  pay filing fee installment(s) as required by this Court's order.

  pay filing fee for: Second installment pymt of $111.66 due 4.30.2018.

  file Your Statement About Your Social Security Numbers (Official Form B121) as required by
  Bankruptcy Rule 1007(f).

  file Declaration re Electronic Filing as required by the Electronic Case Filing (ECF)
  Administrative Procedures Manual.

  file applicable Statement of Current Monthly Income (Official Form B122A−1, B122A−1Supp,
  B122A−2, B122B, B122C−1 or B122C−2) as required by 11 U.S.C. § 521(a)(1) and Bankruptcy
  Rule 1007(b) and (c).



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    file Notice Required by 11 U.S.C § 342(b) for Individuals Filing for Bankruptcy (Form
    B2010) as required by 11 U.S.C. §§ 342(b) and 521(a).

    file copies of all payment advices received within 60 days before the date of the filing of the
    petition as required by 11 U.S.C. § 521(a)(1) and Bankruptcy Rule 1007.

    file Attorney's Disclosure of Compensation (Form B2030) as required by
    11 U.S.C. § 329 and Bankruptcy Rule 2016(b).

    file Disclosure of Compensation of Bankruptcy Petition Preparer (Form B2800) as required by
    11 U.S.C. § 110(h) and Bankruptcy Rule 2016(c).

    Debtor failed to comply with Bankruptcy Rule 3012(b) and Local General Order 17−1, providing the debtor must
    serve creditor in the manner provided for service of a summons and complaint under Bankruptcy Rule 7004, as
    well as provide a certificate of service "that includes the date and method of service and the identity by name
    and address of each entity served, consistent with Local Bankruptcy Rule 9013−3."


    other:


     WHEREFORE, the Court orders that the attorney for the Debtor(s) or the Debtor(s), if

proceeding pro se, must appear at a hearing scheduled for May 22, 2018, at 09:30 AM in

Courtroom 2B of the Howard M. Metzenbaum U.S. Courthouse, 201 Superior Avenue, Cleveland,

OH 44114−1235, and show cause why this case should not be dismissed or converted under

11 U.S.C. §§ 707, 1112, or 1307 for the failure(s) described above. Filing the document(s) or

paying the fee(s) shall not excuse the attorney or pro se Debtor(s) from appearing at the

hearing unless the Court advises otherwise. In addition, if the Court finds that it is in the best

interests of creditors and the estate not to dismiss the case, the failure of the Debtor(s) to pay in full

all filing fees will prevent the Debtor(s) from receiving a discharge.


Form: ohnb 158 (04/18)




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